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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

MICHAEL SMIRCIC,                                §
                                                §
vs.                                             §     Civil Action No. 3:19-cv-00108
                                                §
AMERIHOME MORTGAGE COMPANY,                     §
LLC.                                            §


                DEFENDANT’S CORPORATE DISCLOSURE STATEMENT
                   AND CERTIFICATE OF INTERESTED PERSONS

         Pursuant to FED. R. CIV. P. 7.1, Defendant AmeriHome Mortgage Company, LLC

 (“AmeriHome”) files its corporate disclosure statement and certificate of interested persons, and

 would respectfully show as follows:

                                                I.
                             CORPORATE DISCLOSURE STATEMENT

         Defendant AmeriHome is a Delaware limited liability company that is owned 100% by

 Aris Mortgage Holding Company, LLC – which is itself a Delaware limited liability company.

 No publicly traded company owns of 10% or more of AmeriHome’s stock.

                                             II.
                             CERTIFICATE OF INTERESTED PERSONS

         The followings persons and entities may be financially interested in the outcome of this

 litigation:

         1.     Plaintiff, Michael Smircic.

         2.     Plaintiff’s counsel, Erick DeLaRue, LAW OFFICE OF ERICK DELARUE, PLLC.

         3.     Defendant, AmeriHome Mortgage Company, LLC.
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                                               Respectfully submitted,


                                               By:     /s/ Joshua A. Huber
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                                               ATTORNEY FOR DEFENDANT AMERIHOME
                                               MORTGAGE COMPANY, LLC

                              CERTIFICATE OF SERVICE

       I hereby certify that on April 5, 2019, a true and correct copy of the foregoing and/or
attached instrument was served on all counsel of record pursuant to the Federal Rules of Civil
Procedure through the Southern District of Texas CM/ECF E-File System and as indicated below:

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                                                              /s/ Joshua A. Huber
                                                           Joshua A. Huber




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